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ViOORE INFORMATION

- OPINION RESEARCH ® STRATEGIC ANALYSIS

January 14, 2010

TO: Christ Troupis, Esq.

FROM: Bob Moore

RE: Survey Results: Idaho Primary Voters
Methodology

This memo contains results of a representative telephone survey conducted by Moore
Information among 400 voters who cast a ballot in the 2008 Presidential Primary Election.
The sample was provided by the client. Interviews were conducted January 6-7, 2010. The
potential sampling error associated with this survey is plus or minus 5% at the 95%
confidence level.

Summary
A significant number of Idaho primary voters who do not consider themselves to be
Republicans, have voted in GOP primaries.

— Inthe 2008 primary, 30% of non-GOP voters cast a ballot for John McCain or Ron
Paul and 35% cast a ballot for Jim Risch

— Almost four-in-ten (39%) non-GOP voters say they have voted in a Republican
primary for a State Legislative candidate

— Fully 12% of self-described non-GOP voters say they usually vote for Republicans in
primary elections

— Non-GOP voters are much less likely than GOP voters to favor a Conservative when
voting for a Republican candidate

Finally, Republican and non-Republican voters hold widely divergent views on the
- performance of President Obama, health care reform, abortion and a variety of other issues.

Party Affiliation

Just over half of Idahoans who voted in the 2008 Presidential primary say they usually vote
for more Republicans than Democrats (51%), while 26% vote for more Democrats than
Republicans and 19% say they vote for the person or are Independent. Another 4% don't
know where they fit on the partisan scale. Among GOP leaners, 74% say they vote mostly
or only for Republicans and 26% vote for a few more Republicans than Democrats. Among
Democrat leaners, 35% say they vote mostly or only for Democrats, while 18% say they
vote for a few more Democrats than Republicans.

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Republicans have the edge throughout the state, but are most prominent among 18-54
year-olds, Conservatives and in the eastern part of the state. Democrats are a minority in
all parts of the state, but are more likely to be found in Ada County, in the 55-64 age group
and are Moderates/Liberals.

Party Affiliation
“Which of the following best describes how you usually vote?”

| Mostly or only for Republicans

A few more Republicans than Democrats

TOTAL Republicans

The person/Independent 39%
TOTAL Democrats 52%
A few more Democrats than Republicans 18%
Mostly or only for Democrats 35%
Don’t know 9%

In the rest of this memo, when we use the term “Republican” or “GOP voter” we are
referring to respondents who said they vote mostly or only for Republicans and those who
vote for a few more Republicans than Democrats. “Non-Republican” or “non-GOP voters”
include those who vote for the candidate or are Independent, vote for a few more
Democrats than Republicans, vote mostly or only for Democrats, or are unsure where they
fit on the partisan scale.

Primary Voting Patterns

A significant number of non-GOP voters typically vote in GOP primary elections. When
respondents were asked to describe how they vote in Idaho primary elections, 12% of non-
Republican voters said they usually vote for Republicans. At the same time, 41% usually
vote for Democrats and 35% vote for candidates of both parties.

Among Republican voters, a total of 79% vote for more Republicans than Democrats (18%),
usually vote for Republicans (37%) or always vote for Republicans (24%). Just 1% of
Republicans vote for Democrats in primaries (compared to 12% of non-GOPs who say they
vote for Republican candidates in primary elections).

Primary Voting Patterns
“Which of the following best describes how you vote in Idaho primary elections?”

I always vote for Democrats

I usually vote for Democrats 1% 20%
I vote for more Democrats than Republicans -- 11%
TOTAL Democrats 1% 41%
I vote for.candidates of both parties 16% 35%
TOTAL Republicans 79% 12%
I vote for more Republicans than Democrats 18% 7%.
I usually vote for Republicans 37% 2%
I always vote for Republicans 24% 3%
Depends 2% 7%
Don't know 1% 4%

* less than one-half of one percent

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While just 12% of non-Republican voters say they are more likely to vote for Republican
candidates than Democrat candidates in primary elections, the percentage of non-
Republicans who voted Republican in specific primaries is much higher.

For example, in the 2008 Presidential primary, among non-GOP voters (respondents who
voted for the person or considered themselves Independent or vote for Democrats more
often than Republicans), 30% said they voted for one of the two GOP candidates on the
ballot (McCain 25%, Paul 4%), but 56% said they cast a ballot for Barack Obama (49%) or
Hillary Clinton (7%). The remainder said they voted for another candidate (1%) or couldn't
remember who they voted for (13%).

At the same time, 88% of GOP voters (respondents who said they vote mostly or only for
Republicans or for a few more Republicans than Democrats) cast a ballot for a GOP
candidate in the 2008 Presidential primary, while 5% said they voted for one of the
Democrat candidates and the remaining 6% said they voted for someone else or couldn't
remember.

On the 2008 primary ballot for U.S. Senator, 35% of non-Republican voters said they voted
for Republican candidate Jim Risch, while 41% said they voted for Democrat candidate Larry
LaRocco, 2% voted for some other candidate and 23% couldn’t remember whom they voted
for.

Among Republican voters, 81% said they voted for the Republican candidate Jim Risch,
while 6% voted for Democrat Larry LaRocco, 2% for another candidate and 11% couldn't
remember whom they voted for.

Further evidence of crossover among non-GOP voters in Republican primaries - 39% of
voters who said they usually vote for Democrats in primary elections say they have voted
for a Republican for State Legislature.

In summary, 30% of non-GOP voters cast a ballot for a Republican candidate for President
in Idaho’s 2008 primary election, and 35% cast a vote for Republican Jim Risch in the U.S.
Senate primary. Finally, 39% say they have voted for a Republican in a State Legislative
race, an indication of significant participation by non-GOP voters in Republican primaries.

"Have you ever voted in a Republican primary for a State Legislative candidate?”
(Among those who vote usually/always/ for more Democrats)

“Yes - 39%

Don’t know/don’t remember 4%
No 57%

When voting for a Republican candidate, non-GOP voters are much less likely than GOP
voters to prefer a Conservative candidate. Among non-GOP voters, just 24% prefer a
Conservative Republican candidate, while 40% prefer a Moderate and 21% a prefer a
Liberal. Among Republican voters, 63% favor a Conservative, 31% a Moderate and 4% a
Liberal.

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“If voting for a Republican candidate, would you prefer a Liberal, Moderate or
Conservative?”
(Among those who don‘t always vote Republican or Democrat)

Liberal Yo
Moderate 31% 40%
Conservative - 63% 24%
Don’t know 2% 16%

Republicans versus Non-Republicans on the Issues

Republicans and non-Republicans hold widely divergent views on a variety of issues. For
example, among GOP voters, just 10% approve of Barack Obama’s performance as’
President, while 82% disapprove (72% net disapprove). Among non-Republican voters,
53% approve and 37% disapprove (16% net approve). The difference in net approval
between Republican and non-Republican voters is 88% (-72% GOP versus +16 non-GOP).

Further, the differences in net approval between Republicans and non-Republicans on
abortion and health care reform also exceed 70%. Fully 76% of Republicans consider
themselves to be pro-life (with 59% “strongly” pro-life) and 16% of Republicans are pro-
choice, while just 30% of non-Republicans are pro-life and 51% are pro-choice. On health
care, only 5% of Republicans support the health care reform bill just passed by the U.S.
Senate, while 86% are opposed. Among non-Republicans, 39% support and 44% are
opposed.

There are also significant attitudinal differences between GOP and non-GOP voters on
federal government involvement in the state, timber harvest levels, mood, gun control,
illegal aliens and funding of public schools, although the differences on these issues are not
as pronounced as they are on Obama performance, health care reform and abortion.

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Republicans versus Non-Republicans on the Issues

Obama performance

53%

Approve 10%
Don’t know 8% 10%
Disapprove 82% 37%
Net approve -72% +16% 88%
Abortion view
Pro-life 76% 30%
Don't know 9% 19%
Pro-choice 16% 51%
Net pro-life +60% -21% 81%
Health care reform bill .
Support 5% 39%
Don't: know 9% 17%
Oppose 86% 44%
Net support -81% -5% 76%
U.S. Gov’t involvement in ID
Do more 9% 27%
Don’t know 6% 20%
Already too involved 85% 52%
Net do more -76% -25% 51%
Voter Mood .
Right direction 59% 33%
Don’t know 12% 15%
Wrong track 30% 52%
Net right direction +29% -19% 48%
Increased timber harvest
Support 72% 47%
Don't know 17% 25%
Oppose 12% 28%
Net support +60% +19% 41%
Gun control
Favor stricter laws 8% 26%
Don't: know 8% 11%
Laws are adequate 84% 63%
Net favor stricter laws -76% -37% 39%
Illegal aliens
Deport all 46% 26%
Don’t know 9% 21%
Allow:a path 46% 53%
Net deport all -- -27% 27%
Funding public schools
Adequate funding 37% 22%
Don’‘t:know. 7% 10%
Funding increase 56% 68%
Net adequate -19% -46% 27% |

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IDAHO PRIMARY VOTERS (N=400)
January 6-7, 2010

Can I speak to (FROM LIST)? IF NA: SCHEDULE CALL BACK
PLEASE ONLY SPEAK TO THE LISTED PERSON

Hello, this is (FIRST AND LAST NAME). We are conducting a survey among voters
regarding issues in your part of the state and would like to include your views in our
study. I assure you we are only seeking opinions and there will be no attempt to sell
you anything or solicit a donation.

1. First, did you vote in Idaho’s May 2008 Primary Election?
GOPs Non-GOPs

yes 100% 100%

2. Would you say things in Idaho are generally headed in the right direction, or
would you say things have pretty much gotten off on the wrong track?

right direction 59% 33%

don’t know 12% 15%

wrong track 30% 52%
3. Next, which of the following best describes how you usually vote?

(READ 1-2, 4-5; 5-4, 2-1)

mostly or only for Republicans 74% -
a few more Republicans than Democrats 26% -
Total Republicans 100% -
Total non-Republicans - 100%
the person/Independent - 39%
Total Democrats - 52%
a few more Democrats than Republicans - 18%
mostly or only for Democrats - 35%
don’t know - 9%
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4. On the abortion issue, do you consider yourself to be (ROTATE) pro-life or
pro-choice? IF PRO-LIFE/PRO-CHOICE: Do you feel strongly about that?

strongly pro-life
pro-life

Total pro-life
don’t know

Total pro-choice
pro-choice
strongly pro-choice

Changing the subject,

5. Do you approve or disapprove of the performance of Barack Obama as

Non-GOPs

18%
12%
30%
19%
51%
18%
33%

President? IF APPROVE/DISAPPROVE: Is that strongly approve/disapprove or

somewhat approve/disapprove?

strongly approve
somewhat approve
Total approve

don’t know

Total disapprove
somewhat disapprove
strongly disapprove

32%
21%
53%
10%
37%
10%
27%

6. Do you support or oppose the health care reform bill just passed by the U.S.
Senate? IF SUPPORT/OPPOSE: Is that strongly support/oppose or somewhat

support/oppose?

strongly support
somewhat support
Total support
don’t know

Total oppose
somewhat oppose
strongly oppose

17%
22%
39%
17%
44%
11%
33%

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7. On the immigration issue, do you favor deporting all illegal aliens or allowing
illegal aliens a path to United States citizenship if they obey all laws and pay
back taxes? IF DEPORTING/ALLOWING: Do you feel strongly about that?

GOPs Non-GOPs

strongly deporting all illegal aliens 29% 21%
deporting all illegal aliens 17% 6%
Total deporting all illegal aliens 46% 26%
don’t know 9% 21%
Total allowing illegal aliens a path 46% 53%
allowing illegal aliens a path 25% 24%
strongly allowing illegal aliens a path 20% 29%
8. When it comes to gun control laws, do you favor stricter laws governing the

sale of guns or do you believe the laws governing the sale of guns in this
country are adequate? IF FAVOR STRICTER LAWS/LAWS ARE ADEQUATE: Do
you feel strongly about that?

strongly favor stricter laws 5% 19%
favor stricter laws 3% 7%
Total favor stricter laws 8% 26%
don’t know 8% 11%
Total laws are adequate 84% 63%
laws are adequate 27% 26%
strongly laws are adequate 57% 37%
9. Do you believe local public schools in Idaho have adequate funding or would

you like to see funding for local public schools increase? IF ADEQUATE
FUNDING/FUNDING INCREASE: Do you feel strongly about that?

strongly adequate funding 17% 10%
adequate funding 20% 12%
Total adequate funding 37% 22%
don’t know 7% 10%
Total funding increase 56% 68%
funding increase 18% 17%
strongly funding increase 37% 51%
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10. Do you support or oppose laws that would allow increased timber harvest in
Idaho? IF SUPPORT/OPPOSE: Is that strongly support/oppose or somewhat
support/oppose?
GOPs Non-GOPs
strongly support 44% 26%
somewhat support 28% 21%
Total support 72% 47%
don’t know 17% 25%
Total oppose 12% 28%
somewhat oppose 7% 13%
strongly oppose 4% 15%
i1. Would you like to see the U.S. government do more for people in Idaho or do
you believe the U.S. government is already too involved in people’s lives in
Idaho? IF DO MORE/TOO INVOLVED: Do you feel strongly about that?
strongly U.S. government do more 3% 14%
U.S. government do more 6% 14%
Total U.S. government do more 9% 27%
don’t know 6% 20%
Total U.S. government is already too involved 85% 52%
U.S. government is already too involved 22% 21%
strongly U.S. government is already too involved 63% 31%
Moving on,
12. In the May 2008 Idaho Primary Election for President, did you vote for
(RANDOMIZE 1-5),
Barack Obama, Democrat 4% 49%
Hillary Clinton, Democrat 1% 7%
Keith Russell Judd, Democrat - -
John McCain, Republican 80% 25%
Ron Paul, Republican 8% 4%
another candidate 2% 1%
don’t know/don’t remember 4% 13%
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13.

15.

GOPs
Larry LaRocco, Democrat 6%
Jim Risch, Republican 81%
another candidate 2%
don’t know/don’t remember 11%

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In the May 2008 Idaho Primary Election for U.S. Senator, did you vote for
(RANDOMIZE 1-2),

Non-GOPs

41%
35%

2%
23%

14. IF Q13=RESPONSE 3 (ANOTHER CANDIDATE): Was that candidate a

Republican or a Democrat?

Republican 53%
Democrat -
other 47%

don’t know/don’'t remember -

Which of the following best describes how you vote in Idaho primary
elections? (READ 1-7, 7-1)

I always vote for Democrats *
I usually vote for Democrats 1%
I vote for more Democrats than Republicans -
Total Democrats 1%
I vote for candidates of both parties 16%
Total Republicans 79%
I vote for more Republicans than Democrats 18%
I usually vote for Republicans 37%
I always vote for Republicans 24%
depends 2%
don’t know/NA 1%

16. IF Q15=RESPONSE 1-3 (ALWAYS DEMOCRATS/USUALLY
DEMOCRATS/MORE DEMOCRATS): Have you ever voted in a
Republican primary for a State Legislative candidate?

yes 2K
don’t know/don’t remember *e
no KK

* Less than one-half of one percent
** N=3 GOP respondents; data are not statistically reliable

39%
4%
57%

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17. IF Qi5=RESPONSE 2-6, 8, 9 (NOT ALWAYS

DEMOCRATS/REPUBLICANS): If voting for a Republican candidate,

would you prefer a Liberal, Moderate or Conservative?

Liberal
Moderate
Conservative
don't know

GOP

4%
31%
63%

2%

Ss

18. IF Q15=RESPONSE 2-4 (USUALLY DEMOCRATS/MORE DEMOCRATS/
BOTH): What is the major reason you would vote for a Republican
candidate? (RECORD RESPONSE VERBATIM, ACCEPT ONE)

Qualifications/best candidate
Share same views/beliefs/values
Conservative

Dislike Democrats

Work for the people

Voting record

Honesty

If they're Moderate

Fix problems

Favor Democrats

Need to vote

Keep things the same
None/nothing

Don't know

Now a few questions for statistical purposes.

19. What is your age, please?

18-34
35-44
45-54
55-59
60-64
65+
NA

21%
40%
19%
12%

10%
9%
27%
8%
7%
38%
1%

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Non-GOPs

21%
40%
24%
16%

4%
7%
14%
14%
8%
50%
4%
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20. On political issues, do you consider yourself to be Conservative, Moderate,
or Liberal? IF CONSERVATIVE: Is that very Conservative or somewhat

Conservative?

very Conservative
somewhat Conservative
Total Conservative
Moderate

Liberal

don’t know

21. Gender (BY OBSERVATION)

male
female

22. County (FROM LIST)

49%
51%

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Non-GOPs

18%
11%
30%
41%
20%
9%

50%
50%
